 Case 2:11-cr-00107-WFN    ECF No. 1022   filed 07/17/12   PageID.3758 Page 1 of 1




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 3
                           UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF WASHINGTON
 5
     UNITED STATES OF AMERICA,              )
 6                                          )     No. CR-11-107-WFN-9
                     Plaintiff,             )
 7                                          )     ORDER DENYING DEFENDANT’S
     v.                                     )     MOTION TO MODIFY
 8                                          )
     ALEX VILLANUEVA-GARCIA,                )             MOTION DENIED
 9                                          )              (ECF No. 1013)
                     Defendant.             )
10                                          )

11   Date of bail review hearing: July 17, 2012.

12        Before the court is Defendant’s Motion to Modify to allow

13   travel.   The United States objects to the post-plea Motion.

14        IT IS ORDERED Defendant’s Motion to allow travel (ECF No. 1013)

15   is DENIED.

16        DATED July 17, 2012.

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18                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING DEFENDANT’S MOTION TO MODIFY - 1
